                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )    CASE NO. 3:12-00137-3
                                                    )    JUDGE SHARP
PATRICIA DIANE BARRETT                              )
                                                    )


                                          ORDER

       Pending before the Court is Defendant’s Motion to Continue Sentencing (Docket No.

164) to which the Government does not oppose.

       The motion is GRANTED and the sentencing hearing set for October 18, 2013, is hereby

reset for Friday, November 1, 2013, at 10:30 a.m.

       It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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